Filed 03/29/16                                                  Case 15-14228                                                                     Doc 90
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 15-14228-B
    Oscar Gutierrez                                                                                            Chapter 13
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-1                  User: lbef                         Page 1 of 1                          Date Rcvd: Mar 29, 2016
                                          Form ID: pdf030                    Total Noticed: 4

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Mar 31, 2016.
    db             +Oscar Gutierrez,   211 Center Street,   Orange Cove, CA 93646-2054
    aty            +Cynthia A. Arroyo,   740 G St #F,   Reedley, CA 93654-2629
    aty            +Glen E. Gates,   2377 W. Shaw Avenue, Suite 101,   Fresno, CA 93711-3438

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    tr              E-mail/Text: bncnotices@meyer13.com Mar 30 2016 02:42:54     Michael H. Meyer,   PO Box 28950,
                     Fresno, CA 93729-8950
                                                                                                TOTAL: 1

                 ***** BYPASSED RECIPIENTS *****
    NONE.                                                                                                               TOTAL: 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
    Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
    bankruptcy rules and the Judiciary’s privacy policies.
    Date: Mar 31, 2016                                             Signature: /s/Joseph Speetjens

    _

                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on March 29, 2016 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 03/29/16         Case Number: 2015-14228      Filed: 3/24/2016 3:12:07 PM
                                          Case 15-14228                                                              Doc 90


                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA
                                          CIVIL MINUTE ORDER


        Case Title :       Oscar Gutierrez                                   Case No : 15−14228 − B − 13
                                                                                Date : 03/23/2016
                                                                                Time : 01:30

        Matter :           [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                           $176) (eFilingID: 5697015) (msam)


        Judge :            Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
        Department :       B                                              Reporter : Electronic Record


        APPEARANCES for :
        Movant(s) :
        None
        Respondent(s) :
        None


                                                 CIVIL MINUTE ORDER

        There having been no appearance by the parties at the scheduled hearing,

        IT IS ORDERED that the matter is continued to April 13, 2016 at 1:30 p.m. in Department B, Courtroom 13,
        Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California. The court adopts the findings as set
        forth in the court's civil minutes for the hearing held on January 28, 2016, docket number 58.




                   Mar 24, 2016
Filed 03/29/16         Case Number: 2015-14228      Filed: 3/24/2016 3:12:07 PM
                                          Case 15-14228                                                         Doc 90


        This document does not constitute a certificate of service. The parties listed below will be served a
        separate copy of the attached Civil Minute Order.


        Oscar Gutierrez
        211 Center Street
        Orange Cove CA 93646

        Michael H. Meyer
        PO Box 28950
        Fresno CA 93729−8950

        Cynthia A. Arroyo
        740 G St #F
        Reedley CA 93721

        Glen E. Gates
        2377 W. Shaw Avenue, Suite 101
        Fresno CA 93711
